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    P,*                     DANIELS'RODRIGUEZ
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      P                  BERKEL   EY.DANI
                         A T T O R N E S
                                         EL S.CRUZ
                                          A T L A W
                  F -1'. 1.A U D E R D A 1.E .         T A 1.1-A H A S S E E     JA C K S O N V IL L E

                                                                           Reply to:Lorne E.Berkeley
                                                                               LBerkeley@drbdc-law.com
                                             February 25,2019


 Via FedEx-Priority Overnight

 The H on.Ursula Ungaro
 United States DistrictCourt
 400 N orth M iam iA venue
 Room 12-4
 M iam i,Florida 33128

        Re:     Securities and Exchange Com m ission v.C arla M arin
                Case N o.:     l9-M C-20493-U U

 DearJudge Ungaro:

        l am in receipt of the Order Setting Status Conference for A pril 26,2019 at 11:00 a.m .
 Currently,M agistrate John O 'Sullivan has pending before him the O rder to Show Cause hearing
 scheduled forM arch 19,2019.

         Iam requesting a C ase M anagem entConference prior to this hearing date because there
 are related m atters to the instant action pending before your H onor which arise outof prior and
 currentlitigation in N ew Jersey,asrelayed below .

        The Courtshould be aw are thatthis enforcem entaction is quite unusualdue to its history,
 which the SEC failed to relate to thisCourtin itsinitialtilings,untilitserved a Related CaseN otice
 AFTER an action w as filed in New Jersey on February 8,2019 which has now been assir ed to
 Judge Linares.

         There is a relatedl2016 action in N ew Jerseyz for w hich there is a pending appealbefore
 the 3rd circuit. TheSEC appealeditslossbeforeJudgeJoseLinaresconceming an injunctionit
 soughtagain G uy G entile.

        Ourclient,Carla M arin,is Guy G entile'sattorney.




 1See,159etseq in theGentileComplaintf'
                                      iled bytheSEC in thismatteratDocketNo.:1.
 2SEC v. Genti
             le,No.2-16-cv-01619-JLL-JAD (D NJ2016)
Case
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        Judge Linares issued a stay in April2017 againstconducting discovery in the GentileN ew
 Jersey action,and despite such order,the SEC,via M iam i,proceeded to use the 2013 Trader's
 CaféFO1(the sameorderthey areusinghere)to investigateGentile. TheSEC admittedinthe
 New Jersey action thatthe cases in N ew Jersey and Florida ktm ay be related''.

        Judge Linares did notam end the stay order in response to the SEC 'S self-serving position
 ofwhy a stay orderissued in New Jerseydoesnotaffectthe SEC nationwide,i.e.in Florida.Nor
 did the SEC seek a m odification of the stay order from Judge Linares to continue w ith an
 UN RELA TED investigation into Gentile by virtue ofthe 2013 Trader's Café FO l.

        Further,the SEC did notappealthe Linares stay orderto the 3rdCircuit.

       Again,and im portantly,the SEC did notinform thisCourtin itsinitialtilingsoftherelated
 New Jersey action thatthe SEC has an appealpending before the 3rdCircuit.

        Due to theheightened irregulalitiesofhow thisaction w asbrought,Iam requesting a Status
 Conference earlierifata1lpossible.

         Specitically,the SEC is using the Florida courtsto by-pass a prior order ofa N ew Jersey
 courtto see w hatevidence,if any,they can collect,to use in N ew Jersey should they w in in their
 appeal,which is unlikely,given the questioning ofthe CircuitJudgesto the SEC attom ey,whose
 answ ersw ere lessthan com pelling. But,in the eventthe SEC succeeds in the 3rdcircuit, the stay
 in the case has notbeen disturbed. A nd that is the reason w hy the SEC here did notinitially
 disclose to thisCourtthe related N ew Jersey action and its stay,untilGentile filed and served his
 February 8,2019 action againstthe SEC.

         By forum shopping in thism atter,the SEC sleightofhand can only be view ed as avoiding
 the results ofthe N ew Jersey proceedings.

        Thereisalso an issueasto whetherthereispersonaljurisdiction overmy clientherein
 M iam i.The appropriate m otion is currently being prepared w hich w illbe filed in the nearfuture.
 M yclientandlareverycor izantofnotwantingtowaivethisissueofpersonaljurisdictionwhich
 is why these m atters should be addressed through a Case M anagem ent Conference prior to the
 M arch 19th 2019 Orderto Show Cause hearing.
Case
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 3 IP agc


         Thank you foryour Honor'stim e and attention concem ing these m atters. llook forward
 to hearing from yourHonor as to whether we can schedule a Case M anagem entConference prior
 to the M arch 19,2019 O rderto Show Cause hearing.

                                                         Respectfully subm itted,



                                                          O RN E . ERK ELEY
                                                         Fort inn

 LEB/vvm

 cc:    AmieRiggleBerlin,Esq.(ViaFedEx-PriorityOvernight)
